O A O 472 (Rev. 12/03) O rder of D etention Pending Trial


                                             U NITED STATES D ISTRICT C OURT
                          WESTERN                                            District of                                NORTH CAROLINA
          UNITED STATES OF AMERICA
                                   V.                                                     ORDER OF DETENTION PENDING TRIAL
           WARREN EDWARD FORNEY                                                         Case     1:08 cr 107-3
                                Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
X (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a X federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         X an offense for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841(a)(1)
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
X (3) A period of not more than five years has elapsed since the G date of conviction X release of the defendant from imprisonment
         for the offense described in finding (1).
X (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                        Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
           X  for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841(a)(1)                                  .
              under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
X    (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                            SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II—W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence X a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                        D ate                                                                               Signature of Judge
                                                                                            D ennis L. H ow ell, U nited States M agistrate Judge
                                                                                                         N am e and Title of Judge

*Insert as applicable: (a) C ontrolled Substances A ct (21 U .S.C . § 801 et seq.); (b) C ontrolled Substances Import and Export A ct (21 U .S.C . § 951 et seq.); or (c)
Section 1 of A ct of Sept. 15, 1980 (21 U .S.C . § 955a).


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                                IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                             1:08 cr 107-3

          UNITED STATES OF AMERICA,

          Vs.                                                                      ADDENDUM TO
                                                                                  DETENTION ORDER
          WARREN EDWARD FORNEY.
          _______________________________

          I.    FACTORS CONSIDERED

                18 U.S.C. § 3142:
                (g) Factors to be considered.--The judicial officer shall, in determining whether there are
                conditions of release that will reasonably assure the appearance of the person as required and
                the safety of any other person and the community, take into account the available information
                concerning--
                 (1) The nature and circumstances of the offense charged, including whether the offense is a
                 crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
                 substance, firearm, explosive, or destructive device;
                 (2) the weight of the evidence against the person;

                 (3) the history and characteristics of the person, including--

                      (A) the person's character, physical and mental condition, family ties, employment,
                           financial resources, length of residence in the community, community ties, past
                            conduct, history relating to drug or alcohol abuse, criminal history, and record
                            concerning appearance at court proceedings; and
                      (B) whether, at the time of the current offense or arrest, the person was on probation,
                          on parole, or on other release pending trial, sentencing, appeal, or completion of
                          sentence for an offense under Federal, State, or local law; and
                (4) the nature and seriousness of the danger to any person or the community that would be
                   posed by the person's release.




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               II.                                        FINDINGS
  As to factor:


  (g)(1): The nature and circumstances of the offense charged involve a conspiracy to
 distribute cocaine base, commonly known as crack cocaine and thus involves a controlled
 substance.


  (g)(2): The weight of the evidence against the person appears to be at the level of probable
 cause. The only evidence presented as to this issue was the presentation of the bill of
 indictment. In the bill of indictment, the grand jury found probable cause to believe that the
 defendant had committed the above referenced offense.


  (g)(3): The history and characteristics of the person


     (A) Family ties, employment, financial resources, length of residence in the community,
  community ties, past conduct, history relating to drug or alcohol abuse, criminal history
  and record concerning appearance at court appearances indicate that the defendant has
  family ties in the Rutherford and McDowell county communities, both through his mother
  who resides in McDowell County and his father who resides in Rutherford County. Two
  of the defendant’s children reside in Rutherford County. The defendant has five out-of-
  wedlock children who also reside in Rutherford County. The defendant has had self-
  employment. He is in good physical condition and has no history of mental health issues.
  The defendant’s history relating to drug or alcohol abuse shows that he has smoked
  marijuana since he was a teenager. The defendant is presently 46 years old. In regard to
  the defendant’s criminal history, the defendant has the following convictions:
         Offense                                                           Conviction Date
 Assault on a female                                                           10/12/81
 Worthless check                                                               05/13/83
 Theft, Maryland                                                               10/30/88
 Non-support of illegitimate child                                              09/17/86
 Assault                                                                       05/18/87
 Assault on female                                                              06/24/87
 Assault on female                                                              08/26/87
 Assault on female                                                              08/17/88
 Possession of up to ½ oz of marijuana                                          10/31/91
 Carrying a concealed weapon                                                   10/31/91
 Driving while license revoked                                                 06/05/91
 No operators license                                                           06/05/91
 3 counts of fraudently obtaining ESC benefits                                  03/03/93
 Felony possession of a schedule II controlled substance                         08/26/92
 Simple possession of a schedule VI controlled substance                        08/26/92
 No operators license                                                           03/17/93
 Felony possession of cocaine                                                  02/10/93
 Possession of up to ½ oz marijuana                                            03/24/93



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  Carrying a concealed weapon                                                08/11/94
  Possession with intent to distribute cocaine base, having a firearm during
   and in relation to the commission of a felony, U.S. District Court        05/02/95
  Discharging a firearm in the city                                          12/07/00
  Driving while license revoked                                              05/20/03
  Driving while license revoked                                              05/20/03
  Driving while license revoked                                              09/26/05
  Domestic violence protection order violation                               04/21/05
  Driving while license revoked, failure to appear on a misdemeanor          05/07/07
  Possession of up to ½ oz marijuana                                         11/21/07

  The defendant’s record concerning appearance at court appearances shows that the defendant
  has failed to appear on charges of speeding in McDowell county on January 5, 1993. The
  defendant was convicted of failure to appear on a misdemeanor on May 7, 2007. The
  defendant failed to appear on November 7, 2008 in regard to a charge of failure to wear a
  seatbelt and driving while license revoked. The defendant was charged with driving while
  license revoked on February 5, 2005 and was convicted on December 6, 2005 in district
  court and appealed this conviction to the superior court. The defendant failed to appear on
  August 3, 2006 and the charges against the defendant were dismissed with leave. A proffer
  was made by the government that the defendant had attempted to hide himself from service
  of the bill of indictment and arrest since October 2008 until the defendant’s recent arrest.

       (B) At the time of the current offense or arrest, the defendant was on probation, parole
   or other release pending trial, sentencing, appeal or completion of sentence. It appears that
   this factor does exist. The defendant was placed unsupervised probation on May 7, 2007
   and also was placed on unsupervised probation on November 21, 2007.


  (g)(4): The nature and seriousness of the danger to any person or the community that would
  be posed by the person’s release indicate by clear and convincing evidence that the release
  of the defendant would create a risk of harm or danger to any other person or the community.
  Due to the nature of the charges against the defendant a presumption is created that presumes
  that the release of the defendant would create a risk of harm or danger to any other person
  or the community. This presumption is subject to rebuttal by the defendant. The
  undersigned finds by clear and convincing evidence that the defendant has not rebutted the
  presumption. The defendant has 25 misdemeanor convictions and four felony convictions.
  Each of the four felony convictions involve the sale and distribution of cocaine base. The
  undersigned finds by clear and convincing evidence that not only has the presumption not
  been rebutted, the release of the defendant would create a risk of harm or danger to any other
  person or the community.
  The charges against the defendant also create a presumption that the release of the defendant
  would create a risk of flight on his part. This presumption is also subject to rebuttal by the
  defendant. The undersigned finds by a preponderance of the evidence that the presumption
  has not been rebutted. The defendant has failed to appear on multiple occasions on charges
  much less serious than those which have presently been brought against the defendant. Due
  to the fact the defendant has four felony convictions, three of which involve cocaine base,
  the defendant is subject to, as punishment, a mandatory term of life imprisonment without
  release. The defendant has attempted to secrete himself from the time of the issuance of the
  bill of indictment on October 8, 2008 until his recent arrest on May 3, 2009. These factors
  show by a preponderance of the evidence that the release of the defendant would create a
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 risk of flight on his part. As a result of the foregoing, the undersigned has determined to
 enter an order detaining the defendant pending further proceedings in this matter.


 WHEREFORE, it is ORDERED that the defendant be detained pending further
 proceedings in this matter.
                                          Signed: June 8, 2009




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